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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                               MINUTES OF PROCEEDINGS

                                                       April 4, 2022
CAMDEN OFFICE                                          DATE OF PROCEEDINGS

JUDGE: ROBERT B. KUGLER

COURT REPORTER:          ANN MARIE MITCHELL

                                                       Docket # CR 1:19-716-1(RBK)
TITLE OF CASE:
UNITED STATES OF AMERICA
             vs.
STEVEN MONACO
           DEFENDANT PRESENT

APPEARANCE:
David Walk, AUSA, and Christina Hud, AUSA, for USA
Gerard Egan, Esq., for Defendant


NATURE OF PROCEEDINGS:            JURY SELECTION

Trial w/jury moved before the Honorable Robert B. Kugler.
Ordered jurors drawn; jurors drawn.
Ordered jury venire sworn; jury venire sworn.
The Court commenced voir dire of jury.
Jury venire not present.
Hearing on [114] in limine motion.
Voir dire of jury continued.

Ordered trial w/jury adjourned to April 5 at 9:00AM.



Time commenced: 9:00AM            Time Adjourned:3:45 PM          Total Time: 2:00

                                                            Lawrence MacStravic
                                                            DEPUTY CLERK
cc: Chambers
